321 F.2d 543
    FIDELITY &amp; CASUALTY CO. OF N.Y.v.AETNA INSURANCE CO.
    No. 17358.
    United States Court of Appeals Eighth Circuit.
    Aug. 5, 1963.
    
      Edwin Cassem and Harry R. Henatsch, Omaha, Neb., for appellant.
      George B. Dent, Jr., of Maupin, Dent, Kay &amp; Satterfield, North Platte, Neb., and McGinley, Lane, Mueller &amp; Shanahan, Ogallala, Neb., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed on motion of appellant.
    
    